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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Dr. Keith E. Pyne and Enrico Desiata,       :
                                            :               Index No. 1:21-cv-1565
                                Plaintiff,  :
                                            :
              -against-                     :
                                            :               COMPLAINT
CKR LAW LLP and JEFFREY A. RINDE, ESQ., :
                                            :
                                Defendants. :               JURY TRIAL DEMANDED
                                            :
                                            :
                                            :
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       Plaintiffs Dr. Keith E. Pyne (“Dr. Pyne”) and Enrico Desiata (“Desiata”) (collectively,

“Plaintiffs”), by their undersigned attorneys, for their Complaint against Defendants CKR Law

LLP (“CKR”) and Jeffrey A. Rinde, Esq. (“Rinde”) (collectively, “Defendants”), allege as follows:

                              I.     NATURE OF THE ACTION

       1.         This action arises from a repeated and ongoing scheme perpetrated by

Defendant Jeffrey A. Rinde, an established attorney at all relevant times practicing in New York,

and his law firm CKR Law, LLP, a limited liability partnership formed under the laws of the State

of California with its principal place of business at 1330 Avenue of the Americas, New York,

New York.

       2.         By and through a variety of complicated corporate entities that Defendants

represented to Plaintiffs were legitimate, and individuals with whom Defendants were conspiring

but who Defendants represented were engaged in legitimate activity, Rinde and CKR executed a

plan to defraud Plaintiffs, and inevitably other victims, of hundreds of thousands of dollars based

upon promises of a return of millions, through fraudulent investment programs requiring an
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advance fee. The suspect entities and individuals include, but are not limited to, Straightline

L.L.C. (hereinafter, “Straightline”), Ault Capital L.L.C. (hereinafter, “Ault Capital”), Mark

Datwani, David Ault, and Rick Siegel.

       3.         Straightline, with its principal place of business in North Oaks, Minnesota,

purports to provide financing solutions for projects requiring $10M (ten million USD) to $1B

(one billion USD) in funding.

       4.         Ault Capital, with its principal place of business in Estero, Florida, seems

simply to be a new or shadow company engaged in, or the owner of, Straightline.

       5.         Defendants’ highly-sophisticated scheme was in essence an advance fee scheme

disguised to appear to be a legitimate investment and loan operation crafted by Defendants to

reap enormous profits, all at the expense of Plaintiffs who, at all times, entrusted Defendants to

provide guidance and eventually legal advice.

       6.         At its core, Defendants’ scheme included:

                   a. Offering returns on investments that were disproportionate to the risk

                      involved;

                   b. Mimicking legitimate financial instruments;

                   c. Asking for payment of an advanced fee prior to funding or

                      initiating the loan or investment (represented by Defendants to be

                      the total price that would be required to enter into the agreements

                      alleged below);

                   d. Transferring funds overseas and using foreign banks;

                   e. Improper referencing to legitimate financial institutions without the

                      financial institutions’ knowledge or consent;


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                     f. Intricate explanations and excuses as to why the promised funds or

                         returns failed to materialize; and

                     g. The use of escrow accounts, including attorney escrow accounts.


             7.          In essence, Defendants offered Plaintiffs millions of dollars profit from

funds that Defendants enticed Plaintiffs to extend. Plaintiffs were required to put hundreds of

thousands of dollars in escrow to act as collateral in order to process the transactions alleged

herein. Upon information and believe, the funds were never used for the purpose represented

by Defendants, the returns promised to Plaintiffs were never made, and the escrow amount was

never returned.

             8.          This is an action by Plaintiffs to recover damages owed to them by

Defendants for (1) breach of contract; (2) breach of fiduciary duty; (3) fraud and

misrepresentation; and (4) unjust enrichment, all of which occurred in the course of the

Defendants’ representation, including legal representation, of Plaintiffs in purported trading

agreements and a settlement agreement.

             9.          Defendants misrepresented their ability to collect and distribute proceeds

in accordance with the trading agreements and misrepresented the expected profitability of the

agreements or, alternatively, misrepresented their intentions and activities in their entirety.

       10.        Defendants failed to deliver any proceeds from the transactions, or, alternatively,

obtained the funds but instead retained the proceeds for themselves and others with whom they

were conducting the fraud.

       11.        As a result of Defendants’ actions, Plaintiffs have been harmed financially and

seek to recover the damages in the amount Rinde has represented and admitted that Defendants

owe Plaintiffs.



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                              II.         JURISDICTION AND VENUE

        12.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 as the

matter in controversy exceeds the sum or value of $75,000 exclusive of interest and costs and

the Plaintiffs and Defendants are citizens of different states.

        13.      This Court has personal jurisdiction pursuant to Federal Rule of Civil Procedure

4(k)(1)(a) because Defendants regularly and continuously operate and conduct business in this

jurisdiction.

        14.      Venue in this Court is appropriate pursuant to 28 U.S.C. § 1391(b)(2) as a

substantial number of the events, acts or omission giving rise to Plaintiff’s claims occurred within

the boundaries of this judicial district.
                                       III.    THE PARTIES

        15.      Dr. Keith E. Pyne is an individual residing in Phoenix, Arizona.

        16.      Enrico Desiata is an individual residing in Panama.

        17.      CKR Law LLP is a global law firm formed as a limited liability partnership with

an office and principal place of business located in New York County, New York.

        18.      Jeffrey Rinde, Esq. is a named partner, co-founder, and, at all times relevant to

this action, the managing partner of CKR. Rinde works, or at all relevant times worked, in

CKR’s office in New York County, New York. In addition, the services Rinde performed on

behalf of Plaintiffs, alleged herein, happened substantially in New York County, New York.

                                    IV.     BACKGROUND FACTS

        19.      In or around August 2014, Mark Datwani, a resident of Panama and business

associate of Desiata’s, approached and convinced Desiata to participate in a purported financing

for a company in which Datwani and Datwani were equity partners, Panasolar Generation S.A

(“Panasolar”).




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       20.      Datwani represented that he was investing $900,000, and convinced Desiata to

invest $500,000, and, in turn, Dr. Pyne was convinced to invest an additional $200,000.

Datwani, who, upon information and belief, was working on behalf of or in conjunction with

Defendants, explained to Desiata that the funds would be invested in a trading platform

purportedly crafted or operated by Rick Siegel (“Siegel”) and David Ault (“Ault”) of

Straightline.

       21.      Datwani explained to Desiata that the financing could be used to provide funding

for Panasolar and as an investment.


       22.      On August 31, 2014, Defendants CKR and Rinde were retained (“Initial

Engagement Letter”) to represent the parties in structuring the trading platform.


       23.      In about August 31, 2014, Rinde was engaged to effectuate the purported trading

agreement.


       24.       The financing and loan transaction purportedly closed on September 2, 2014,

and was entitled the “Private Contract Agreement (PCA) for Lease of Bank Instrument(s)”

(“PCA”).

       25.      Although the structure, the parties, and the flow of money is still partially

unknown, Datwani, and subsequently Rinde, represented to Plaintiffs that Rinde had negotiated,

a trading agreement between AIZ Energy SA (“AIZ”) and Paramount Services Ltd.

(“Paramount”), a Nevis corporation. The trading agreement involved a trade platform that would

be funded by money obtained as a loan secured by an SBLC.




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       26.     As part of the transaction, the parties entered into an escrow agreement whereby

Plaintiffs’ investments would be transferred into an escrow account controlled by CKR and then

used to obtain and monetize the SBLC.


       27.     Defendants represented that, pursuant to the PCA, Plaintiffs’ funds would be used

to lease an SBLC, which purportedly had been issued by Barclays Bank PLC, a bank located in

the United Kingdom, to AIZ, and that the SBLC in turn would be used as a guarantee in order to

monetize funds to invest in a trade platform.


       28.     Defendants represented that, pursuant to the PCA, Plaintiffs’ funds would be used

to lease an SBLC, which purportedly had been issued by Barclays Bank PLC, a bank located in

the United Kingdom, to AIZ, and that the SBLC in turn would be used as a guarantee in order to

monetize funds to invest in a trade platform.


       29.     On September 3, 204, Dr. Pyne provided via wire and check $200,000 to CKR for

the purpose of funding the SBLC and investment. On September 4, 2014, Desiata wired

$500,000 to CKR for the purpose of funding the SBLC and investment.


       30.     On September 9, 2014, Defendants crafted a trade agreement, entitled the Joint

Participation Agreement (“Trade Agreement”). This agreement purportedly was with Anderson

Investments International, LLC (“Anderson”), a limited liability company, which, upon

information and belief, is incorporated in Nevis, and, upon information and belief, is related to

Paramount.

       31.     Under the Trade Agreement, according to Defendants, AIZ agreed and ultimately

loaned Anderson $20,825,000 of proceeds purportedly reaped, at least in part, from the PCA to




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invest. In return, over a period of 90 days, Anderson would provide AIZ with payments “equal

to 25% of the return generated.”

       32.     On October 1, 2014, Datwani passed away. Unbeknownst to Dr. Pyne and

Desiata, Datwani had never invested any funds in connection with the Trade Agreement, as

Plaintiffs had done.

       33.     On November 7, 2014, Desiata, on behalf of himself and Dr. Pyne, entered into a

contract (“Follow-Up Engagement Letter”) to continue Defendants’ legal services, including to

represent and “assist … in connection with its Lease of an SBLC, assistance in monetizing the

bank instrument and working with [Panasolar’s] bank compliance officers to facilitate the

receiving and acceptance of cash funds in to [Panasolar’s] bank accounts.” Desiata signed the

retainer agreement in New York County, and the parties agreed to a retainer of $50,000, $25,000

of which was intended to cover Rinde and CKR’s previous work on Plaintiffs’ behalf and the

remainder to commence work pursuant to the Follow-Up Engagement Letter.

       34.     Desiata intended to use his distributions to build Panasolar’s solar plant and grow

the business. Dr. Pyne intended to use his distributions to invest in medical hemp research, an

industry which was still in its early stages.

       35.     Dr. Pyne and Desiata never received any distributions to which they were entitled,

despite Rinde’s numerous representations that they would receive the funds:

                       a. On November 18, 2014, Desiata emailed Rinde to ask when they could

                           “start sending something to the bank?” Rinde responded, “Prior to the

                           end of the week.” However, by November 22, 2014, Plaintiffs still

                           had not received any distributions, and Rinde told Desiata that he was




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             working with the bank to “address [an AML matter] with the relevant

             parties and regulatory authorities.”

          b. Almost a week later, Plaintiffs still had not received distributions from

             the Trade Agreement. On November 28, 2014, Rinde wrote, “I was

             advised that the funds were received in HK and[,] subject to HKMA

             review[,] would be credited to my account by close of business

             Monday or Tuesday, HK time.”

          c. On December 3, 2014, Siegel wrote that on “11/28/14 [you] confirmed

             the money ha[d] hit the bank in Hong Konk [sic] and would be

             available in your account by Tuesday. On our call today you

             reaf[f]irmed that the 38 million has hit the bank, but you are now not

             sure when it will hit your account. … Can you please claify [sic]?”

             Rinde ignored the fact that he had missed his deadline and responded,

             “Correct. It says ‘subject to HKMA review’ it would be credited

             Monday or Tuesday. It is now though under HKMA review.”

          d. On December 5, 2014, Desiata wrote Rinde, “Today is Friday and [in]

             HK the week end has already started. Can you give me an update?

             The money should already be in your account. Can you confirm?”

             Rinde did not respond to Desiata’s email.

          e. On December 6, 2014, Siegel emailed Ault and Desiata that he had

             spoken with Rinde. He said that Rinde “confirmed that $38M has

             arrived at HSBC Hong Kong [and] he is working endlessly to have the

             HKMA (the Hong Kong Fed) release the money to his account. He




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             has assured me that we are going to get every dime of the $50M+ we

             have coming.” Siegel also noted that Rinde indicated that it could take

             30 days for to receive their distributions.

          f. On December 9, 2014, Plaintiffs still had not received any

             distributions, so Desiata requested that Rinde draft a letter explaining

             the situation so that he could “show … the bank and [the] engineering,

             procuring, and construction company” that Panasolar had sufficient

             funds to meet its obligations. On December 15, 2014, Rinde wrote a

             letter to Desiata confirming that Panasolar would receive distributions

             “in excess of $20 million.”

          g. On December 18, 2014, Siegel wrote Ault and Desiata an email,

             copying Rinde, saying, “Jeff has confirmed the money will hit his

             account by the 30th of this month.” Rinde did not reply to or correct

             the information in the email.

          h. On December 19, 2014, while asking for clarification of the terms of

             the Trade Agreement, Siegel noted that “there is an additional 16.5

             million dollars for this past month, bring[ing] the total to 54.4 million

             dollars.”

          i. Plaintiffs waited for the distribution, and, on December 28, 2014,

             Siegel emailed Rinde to confirm the details of the distribution. Shortly

             thereafter, Rinde replied and again changed the story: “I have

             responded to this question multiple times. I was advised that the funds

             would be credited to my account by the close of business on December




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                30th. This date is subject to change as we are relying on third parties

                and matters outside our control. Even assuming the funds are credited

                on the 30th, there is no possibility they [will be] wired … on Tuesday

                or Wednesday. As we discussed last week, I will need to secure

                HKMA approval for the outbound transfer. I cannot estimate the

                timing based on historical transactions as the global banking

                environment is in a constant state of flux.”

             j. As of January 2, 2015, Plaintiffs still had not received any

                distributions. Desiata wrote an email to Rinde: “As you know we are

                missing a series of deadlines, and you keep saying that this is out of

                your control[.] ... BUT … You have never given us enough

                explanations on why each single deadline is missed … [I am]

                [c]oncerned because I am starting to doubt we will ever get this money

                and I am pretty sure [Ault and Siegel] have the same feeling. …

                Conclusion: give me/us details on what is going on and what really do

                you expect[] to happen … I am still waiting [on] news from your guy

                in HK.” Rinde responded that “it appears that perhaps due to your

                lack of familiarity with this process you are expecting information

                which is extremely sensitive or unavailable other than verbally. …

                Due to the holidays I was only able to communicate with my HK

                contact today.”

             k. By January 4, 2015, Plaintiffs still had not received any distributions.

36.   Plaintiffs have never received any proceeds from the Trade Agreement.




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       37.     Nonetheless, Rinde and CKR enticed Plaintiffs to remained engaged in the

transaction and related transactions. Defendants assured Plaintiffs that Plaintiffs would obtain

the promised returns on their investment.

       38.     First, on January 15, 2015, pursuant to an agreement structured by Defendants,

Plaintiffs entered into another purported trading agreement (the “40 Weeks Program”). Under

the 40 Weeks Program, Plaintiffs made the proceeds that were purportedly generated by the

previous trading agreement, but which Defendants still have not transferred to Plaintiffs,

available to Anderson to invest. In return, Anderson agreed to provide monthly payments over a

period of 40 weeks “equal to a minimum of 50% of the principal amount.”

       39.     Then, on September 23, 2015, while the 40 Week Program was in effect and

Plaintiffs were waiting for distributions, Plaintiffs entered into a settlement agreement with

Anderson (“Anderson Settlement Agreement”), also orchestrated by Defendants. Under the

Anderson Settlement Agreement, Plaintiffs released their claims against Anderson related to

their non-payments under the Trade Agreement in exchange for the return of their initial

$700,000 investment. Plaintiffs designated Defendants to receive and distribute the $700,000.

       40.     Dr. Pyne and Desiata never received any distributions to which they were entitled

under the 40 Weeks Program or the Anderson Settlement Agreement. And once again, Rinde,

along with Anderson, which was working with Rinde, made representations of imminent

payments and provided excuses based upon purported bank review of transfers:

                       a. Rinde contended that the funds were flagged for review by the banks.

                           On October 13, 2015, Anderson emailed that “the funds will be

                           release[d].” Subsequently, on October 26, 2015, Anderson again




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             emailed that Rinde “should receive [the 700k] this week.” Then on

             October 30, 2015, Anderson, “700k should be in today.”

          b. On November 1, 2015, Rinde represented to Desiata that “there is no

             issue” with the funds, despite the fact that they had been flagged for

             review.

          c. The review continued through at least January 2016 but Rinde was not

             forthcoming with Plaintiffs about the status of their investments. On

             January 13, 2016, Rinde represented that he expected the funds to be

             credited in a week. On January 22, 2016, Rinde wrote, “I received

             confirmation from CITI they are holding funds for our benefit which

             includes your payment. They indicated they are completing the

             process for crediting the[m] to our account.”

          d. Thereafter, Rinde continued to represent that the funds would be

             available imminently. On Aril 12, 2016, Rinde represented to Desiata

             that they “should expect the money to [arrive within] 7-10 banking

             days.”

          e. On May 10, 2016, the funds still had not arrived, but Rinde told

             Desiata that he had “received a copy of the transfer instructions and

             [was] waiting for a copy of the transfer confirmation.” On May 12,

             2016, he further advised that Anderson had “assured me that payment

             is forthcoming. I have no reason to doubt their statements to me.”




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          f. On May 19, 2016, more than a week later, Plaintiffs still had not

             received the funds. Rinde assured Plaintiffs that he would receive a

             confirmation “today or tomorrow.”

          g. On May 23, 2016, Rinde represented that he still did not have the

             confirmation of the transfer but was working to “facilitate” the

             transfer.

          h. Months later, in October 2016, Plaintiffs still had not received their

             funds. On October 24, 2016, Rinde represented that “there has been a

             lot of progress.”

          i. By November 7, 2016, Plaintiffs still had not received any funds and

             Rinde wrote once again that “everything is progressing well.”

          j. On November 23, 2016, Desiata wrote to Rinde that he was seeing no

             progress and asked Rinde to develop and implement a new strategy.

             Rinde wrote once again that “[t]hings are progressing as needed to a

             final resolution. There is no need to explore alternative plans.” By

             this point, for over a year, Rinde had represented that Plaintiffs would

             imminently receive their return of $700,000 from Anderson, and for

             more than two years represented that they would receive their proceeds

             under the trading agreements. He also, for over a year, had

             represented that the funds were being reviewed and taking time to

             credit to his account. However, Rinde was not producing any new

             communications from the banks to provide support for his assertions.




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          k. On March 10, 2017, with funds still having not arrived, Desiata again

             emailed Rinde to find out about the status of the funds. Rinde simply

             responded that they could speak over the weekend, but did not address

             Desiata’s concerns.

          l. On May 4, 2017, Desiata emailed Rinde again and noted that

             “following our last call two days ago, you said that the funds should be

             in your account ‘today or tomorrow,’ therefore I belive [sic] they

             already are in your account.” Rinde responded by placing the blame

             on Desiata: “I think you misunderstood some of our conversation.” At

             this point, Plaintiffs had not received any proceeds from the trading

             agreements, nor had they received the return of their initial $700,000

             investment, which was agreed upon in the Anderson Settlement

             Agreement.

          m. In August 2017, Rinde claimed to be in Dubai, where, he represented,

             the funds were being held, to sort out any issues related to the funds

             and to facilitate the transfer of funds. On September 2, 2017, Rinde

             wrote Desiata, “Everything is approved.”

          n. On September 25, 2017, the funds still had not been distributed to

             Plaintiffs. Rinde claimed, as he had previously, that the royal family

             of Dubai controlled the funds. Desiata wrote to Rinde, “I am incurring

             … unexpected expenses … and I really count on those money [sic].

             [H]ow long do you think would it take after your meetings in Dubai to

             get some money in hand”? Rinde replied: “I was told I would be able




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             to transfer out once compliance requirements were satisfied. However

             we still need to deal with receiving bank requirements.” When Desiata

             noted that he had understood compliance to have cleared, Rinde

             responded, “Not receiving bank compliance.”

          o. A month later, in and around October 6, 2017, when Desiata asked for

             an update, Rinde wrote, “Everything is going fine. Will need to return

             in about 2 weeks to finish … They told me that was the time it would

             take to process the transfer and credit the funds to the accounts. There

             was no point in me just sitting there until then.”

          p. Two weeks later, on October 23, 2017, Rinde represented that two of

             the three accounts had been credited with Plaintiffs’ funds. However,

             he explained, the money could not be sent out: “We’ve discussed this

             several times. Once the funds are credited I need to return to speak to

             the bank management and the assigned bank officers on any costs,

             conditions to and the compliance required to effect the outbound

             transfers.” The third account would credit on November 8, 2017,

             Rinde represented.

          q. On November 15, 2017, Rinde represented he would meet with the

             banks on November 27 and 28 to effectuate the transfer of funds to

             Plaintiffs. However, by the end of December 2017, the meetings

             apparently still had not occurred. On January 4, 2018, Rinde wrote

             Desiata, “Meetings are still ongoing through at least January 13.”




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          r. On January 14, 2018, Rinde again changed the timeline: “I’ve been

             asked to be in Dubai through the first week of February.” He went on

             to explain, “There are no issues that I’m aware of. Just the process and

             subject to their respective schedules. I was told if no issues come up

             the funds can be moved following those dates.”

          s. On February 19, 2018, according to the Rinde, the meetings still had

             not been completed: “As of now there is 1 last meeting I have been

             asked to attend. They are targeting Saturday but it is not yet

             confirmed.”

          t. On February 26, 2018, Rinde once again said, “I have 1 further

             meeting which has been scheduled for March 18th and 19th.” Desiata

             wrote back, “But Jeff there is always ‘the last meeting’ and then it

             happens and that is never the last... What are the issues now?” Rinde

             explained there were no issues, but did not clarify why there needed to

             be another meeting.

          u. On March 19, 2018, Rinde wrote Desiata, “Meeting is rescheduled for

             25th.” On March 27, 2018, Rinde wrote that the meetings were on

             ongoing.

          v. On April 7, 2018, Rinde wrote Desiata, “Everything was completed in

             Dubai. Banks are scheduled to speak on Monday and discuss

             procedures and protocols for transfer.”

          w. Almost two weeks later, on April 23, 2018, Rinde wrote Desiata,

             “Waiting on confirmation of outbound transfer. [Everything cleared




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             on] Dubai side. Will still need to deal with inbound/outbound

             compliance on US side.” In order to speed up and facilitate the

             process, Desiata asked whether funds could be sent directly to his

             account in Panama. Rinde refused to entertain Desiata’s suggestion,

             claiming, without providing a reason, that Plaintiffs’ funds could not

             be sent to Panama, and instead had to go to CKR’s account in the

             United States.

          x. A month later, on May 28, 2018, after Desiata sent multiple messages

             to Rinde asking for updates, Rinde wrote back, “I was informed the

             funds were released to CKR’s bank. I am waiting for confirmation

             this week of crediting of funds or requests from CKR’s bank for

             compliance.” On June 28, 2018, Rinde wrote that he was still “just

             waiting on crediting of funds which is expected on or prior to July

             2nd.” On July 15, 2018, Rinde said the funds still had not been

             credited to his account.

          y. On August 22, 2018, more than a year after Rinde represented he was

             attending meetings in Dubai to facilitate the transfer of funds, Rinde

             represented to Plaintiffs that he needed to attend more meetings, this

             time with his bank, Citibank, to have the transfer from Dubai credited

             to CKR’s account.

          z. On September 6, 2018, Rinde wrote Desiata, “I was told everything

             has been resolved. Simply waiting on Citi confirmation of release of

             funds.” By October 9, 2018, the funds, according to Rinde, still had




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                          not been credited to CKR’s account at Citibank and Rinde wrote that

                          he was “waiting on file from Central Bank. Supposed to be delivered

                          from embassy today.”

                      aa. During the ensuing months, Desiata and Rinde continued to have

                          similar exchanges: Desiata would ask for updates and Rinde would

                          assure him that CKR’s account would be credited with funds soon. In

                          June 2019, Rinde told Desiata that he was continuing to communicate

                          with Citibank about releasing the funds to his account. Subsequently,

                          on July 21, 2019, nearly two years after he purportedly commenced his

                          meetings in Dubai, Rinde changed the story again: “I’ll receive an

                          update early this week. There is a scheduled in person meeting with

                          the Fed Reserve for Tuesday afternoon with the Middle East.”

                      bb. On July 28, 2019, Rinde wrote to Desiata that the meeting in the

                          Middle East had been rescheduled.

                      cc. On September 3, 2019, Rinde again gave Desiata an “update,” but

                          once again this “update” proved to be nothing more than informing

                          Plaintiffs that the funds had not yet arrived.

       41.     To summarize, for five years Rinde represented, week after week, month after

month, that the funds would be wired and credited to CKR’s account in short order and then

transferred to Plaintiffs. However, each claimed step forward was followed by new excuses for

delay: each time Rinde represented that a transfer had occurred, Rinde then reported that there

was a new round of bank scrutiny which Rinde could not seem to clear up; each time there was a

“last meeting,” there purportedly was another one later.




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       42.     Upon information and belief, Plaintiffs’ investments are now worth approximately

$200,000,000, according to Defendants, with approximately $100,000,000 located in CKR’s

Citibank account in the United States and the remaining approximately $100,0000,000 in a

foreign account in the Middle East. Plaintiffs are also still owed the return of their initial

$700,000 investment.

       43.     Upon information and belief, Defendants are defendants in several other cases

alleging similar patterns of fraud and deceit.

       44.     Plaintiffs have not received any distributions from the trading agreements or the

Anderson Settlement Agreement. As a result, Desiata has lost money, had to sell equity in

Panasolar at a lower price than initially intended, and personally owes debt he incurred trying to

meet his business obligations. Dr. Pyne has lost the opportunity to become a ground-floor

investor in a particular start-up, which is an opportunity he will likely not get back due to

industry advances over the last five years, and, like Desiata, has not recovered even his initial

investment.

       45.     Plaintiffs have been both proximately and directly harmed by Rinde and CKR’s

breaches of contract and fraudulent representations.

       46.     Furthermore, Rinde and CKR have been unjustly enriched by the retainer they

received from Plaintiffs, as well as any funds they may have received through the trading

agreements and the Anderson Settlement Agreement and retained.

                                 V.      CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                                    (against Rinde and CKR)
                                       Breach of Contract

       47.     Plaintiffs repeat and re-allege each of the above averments.




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       48.     Pursuant to the Initial Engagement Letter, Rinde and CKR agreed to represent

AIZ on Plaintiffs’ behalf, Dr. Pyne and Desiata in negotiating the lease and monetization of the

SBLC, which would be used to fund Panasolar.

       49.     Pursuant to the Follow-Up Engagement Letter, Rinde and CKR agreed to

represent the legal and financial interests of Panasolar, Dr. Pyne and Desiata in “monetizing [the

SBLC and] facilitat[ing]” the receipt of funds from the monetization in exchange for a retainer

fee.

       50.     Rinde and CKR breached these contracts when they failed to represent Plaintiffs’

legal and financial interests by failing to monetize the SBLC, or, alternatively, by retaining for

themselves the proceeds from the monetization of the SBLC, or, alternatively, Plaintiffs’ funds

forwarded to CKR’s escrow account. In particular, over the past five years, Defendants have

provided Plaintiffs with no distributions despite a promise that they would trade on the SBLC

and distribute the resulting proceeds.

       51.     Plaintiffs performed all of their obligations under the Initial Engagement Letter

and the Follow-Up Engagement Letter.

       52.     Plaintiffs performed all of the obligations of their predecessor in interest under the

Initial Engagement Letter and Follow-up Engagement Letter.

       53.     As a direct and proximate result of Defendants’ breaches of the Initial

Engagement Letter and Follow-up Engagement Letter, Plaintiffs are entitled to recover the

retainer fee due under the Engagement Letter, Plaintiffs’ pro rata share of proceeds obtained

pursuant to the three trading agreements plus interest, the $700,000 due to Plaintiffs pursuant to

the Anderson Settlement Agreement plus interest, the proceeds promised by Defendants, and

attorney’s fees.




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                                SECOND CAUSE OF ACTION
                                  (against Rinde and CKR)
                                  Breach of Fiduciary Duty

       54.     Plaintiffs repeat and re-allege each of the above averments.

       55.     Pursuant to the Initial Engagement Letter, Rinde and CKR agreed to represent

AIZ on Plaintiffs’ behalf, Dr. Pyne and Desiata in negotiating the lease and monetization of the

SBLC, which would be used to fund Panasolar.

       56.     Pursuant to the Follow-Up Engagement Letter, Rinde and CKR agreed to

represent the legal and financial interests of Panasolar, Dr. Pyne and Desiata in “monetizing [the

SBLC and] facilitat[ing]” the receipt of funds from the monetization in exchange for a retainer

fee.

       57.     Rinde and CKR agreed to represent the legal and financial interests of Panasolar,

Dr. Pyne and Desiata, in “monetizing [the SBLC and] facilitat[ing]” the receipt of funds from the

monetization in exchange for a retainer fee.

       58.     Additionally, Plaintiffs designated Defendants to receive and distribute the funds

Plaintiffs were owed under the Anderson Settlement Agreement.

       59.     Plaintiffs trusted Rinde and CKR to protect their financial interests and

investments and to secure their funds and distribute them in a timely manner.

       60.     Rinde and CKR failed to protect Plaintiffs’ financial interests when they either

failed to monetize the SBLC, or, alternatively retained the proceeds from the monetization of the

SBLC for themselves.

       61.     Defendants further failed to protect Plaintiffs’ financial interests when they either

failed to obtain the proceeds from the Anderson Settlement Agreement or, alternatively, retained

the proceeds from the Anderson Settlement Agreement for themselves.




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        62.     As a direct and proximate result of Defendants’ breach of their fiduciary duty,

Plaintiffs are entitled to recover the retainer fee due under the Engagement Letter, Plaintiffs’ pro

rata share of the proceeds obtained pursuant to the three trading agreements plus interest or,

alternatively the pro rata share of the proceeds that Defendants represented would be obtained

from the trading agreements, the $700,000 due to Plaintiffs pursuant to the Anderson Settlement

Agreement plus interest, the proceeds promised by Defendants, any additional punitive amount

to be determined at trial, and attorney’s fees.

                                 THIRD CLAIM FOR RELIEF
                                   (against Rinde and CKR)
                                             Fraud

        63.     Plaintiffs repeat and re-allege each of the above averments.

        64.     Pursuant to the Initial Engagement Letter with Datwani, Rinde and CKR agreed

to represent AIZ on Plaintiffs’ behalf, Dr. Pyne and Desiata, in negotiating the lease and

monetization of the SBLC.


        65.     Pursuant to the Follow-Up Engagement Letter, Rinde and CKR agreed to

represent the legal and financial interests of Panasolar, Dr. Pyne and Desiata, in “monetizing [the

SBLC and] facilitat[ing]” the receipt of funds from the monetization in exchange for a retainer

fee.

        66.     Rinde and CKR defrauded Plaintiffs when soliciting and maintaining their

business. Defendants had no intention of pursuing, and did not pursue, Plaintiffs’ legal and

financial interests.

        67.     In particular, on several occasions Rinde and CKR knowingly and fraudulently

misrepresented to Plaintiffs that the funds owed them under the trading agreements and

Anderson Settlement Agreement would be available by certain deadlines, when in fact they were



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aware that the funds would never become available to Plaintiffs. These representations induced

Plaintiffs to forego alternative methods for obtaining the distributions due to them under the

trading agreements and Anderson Settlement Agreement, which exacerbated their losses.

       68.     Alternatively, Defendants fraudulently presented to Plaintiffs a business

opportunity which Defendants knew could not and would not be as profitable as presented.

       69.     As a direct and proximate result of Defendants’ fraud, Plaintiffs are entitled to

recover the retainer fee due under the Engagement Letter, Plaintiffs’ pro rata share of the

proceeds obtained pursuant to the three trading agreements plus interest, the $700,000 due to

Plaintiffs pursuant to the Anderson Settlement Agreement, or, alternatively the pro rata share of

the proceeds that Defendants represented would be obtained from the trading agreements, plus

interest, any additional punitive amount to be determined at trial, and attorney’s fees.


                               FOURTH CLAIM FOR RELIEF
                                 (against Rinde and CKR)
                                    Unjust Enrichment

       70.     Plaintiffs repeat and re-allege each of the above averments.

       71.     Pursuant to the Initial Engagement Letter with Datwani, Rinde and CKR agreed

to represent AIZ on Plaintiffs’ behalf, Dr. Pyne and Desiata, in negotiating the lease and

monetization of the SBLC, and Plaintiffs’ interests.

       72.     Pursuant to the Follow-Up Engagement Letter, Rinde and CKR agreed to

represent the legal and financial interests of Plaintiffs in “monetizing [the SBLC and]

facilitat[ing]” the receipt of funds and proceeds from the monetization and investment in the

trading platform in exchange for a retainer fee.

       73.     Rinde and CKR were unjustly enriched when they either failed to obtain or

retained for themselves the distributions owed to Plaintiffs.



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         74.     To prevent Rinde and CKR from being unjustly enriched, Plaintiffs are entitled to

recover the retainer fee due under the Engagement Letter, as well as any pro rata distributions

due to Plaintiffs pursuant to the trading agreements and/or Anderson Settlement Agreement that

Rinde and CKR may have retained.

                                   DEMAND FOR JURY TRIAL

         Plaintiffs are entitled to and hereby demand a jury trial in this matter.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs Dr. Keith E. Pyne and Enrico Desiata respectfully pray that this

Court will:

         a)    Enter judgment against Defendants, jointly and severally, in such amounts as will fully

and adequately compensate Plaintiffs for the damages suffered, in an amount to be determined at

trial;

         b)    Award Plaintiffs punitive damages against Defendants, jointly and severally, in an

amount to be determined at trial;

         c)    Award Plaintiffs pre- and post-judgment interest;

         d)    Award Plaintiffs their actual expenses of litigation, including reasonable attorneys’

fees; and

         f)    Such other and further relief as this Court may deem just and proper.


Dated: New York, New York
       February 22, 2021
                                                        MICHELMAN & ROBINSON, LLP

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                                       Attorneys for Plaintiffs




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